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   14                       UNITED STATES DISTRICT COURT
   15
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
   16
   17
         LISA VARGAS,                          )   Case No.: 2:19-cv-03279-MEMF-AS
   18                                          )   [Hon. Maame Ewusi-Mensah
   19                                          )   Frimpong, United States District
                           Plaintiff               Judge]
                                               )
   20
                     v.                        )   VERDICT FORM – PHASE II
   21                                          )
         COUNTY OF LOS ANGELES,                )   Trial Date:    April 6, 2023
   22
         NIKOLIS PEREZ, JONATHAN               )
   23    ROJAS, and DOES 1 through 10,         )
         inclusive,                            )
   24
                                               )
   25                      Defendants          )
                                               )
   26
   27
   28
                                             1
                                   VERDICT FORM – PHASE II
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    1         TO HONORABLE COURT, ALL PARTIES AND TO THEIR
    2   ATTORNEYS OF RECORD HEREIN:
    3         COME NOW the parties and hereby submit this proposed verdict form for
    4   Phase II.
    5   DATED: April 20, 2023              GUIZAR, HENDERSON & CARRAZCO, LLP
    6
    7
                                           By:
    8
                                           HUMBERTO GUIZAR
    9                                      CHRISTIAN CONTRERAS
                                           Attorneys for Plaintiffs
   10
   11 DATED: April 20, 2023                IVIE McNEILL WYATT
                                           PURCELL & DIGGS
   12
   13                                By:   /s/ Marina Samson
                                           RICKEY IVIE
   14                                      MARINA SAMSON
   15                                      Attorneys for Defendants,
                                           COUNTY OF LOS ANGELES, et.al.
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                                           2
                                 VERDICT FORM – PHASE II
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    1                    PROPOSED VERDICT FORM – PHASE II
    2        We the jury answer the questions submitted to us as follows:
    3                                   Question No. 1.:
    4        What are Anthony Vargas’ survival damages for his loss of life and for his
    5   pre-death pain and suffering?
    6
    7        Loss of life:                   $ _____________________
    8        Pre-death pain and suffering: $ _____________________
    9
   10        Please answer Question No. 2.
   11
   12                                   Question No. 2.:
   13        What are Lisa Vargas’ wrongful death damages?
   14
   15        a. The reasonable value of past household services that Anthony Vargas
   16 would have provided:
   17 $ _____________________
   18
   19        b. The reasonable value of future household services that Anthony Vargas
   20 would have provided:
   21 $ _____________________
   22
   23        c. The past loss of Anthony Vargas’ love, companionship, comfort, care,
   24 assistance, protection, affection, society, moral support, training, and guidance:
   25 $ _____________________
   26
   27        d. The future loss of Anthony Vargas’ love, companionship, comfort, care,
   28 assistance, protection, affection, society, moral support, training, and guidance:
                                            3
                                  VERDICT FORM – PHASE II
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    1   $ _____________________
    2
    3        Please answer Question No. 3.
    4
    5                                  Question No.3 :
    6        Was Anthony Vargas’s negligent?
    7
    8                            YES________              NO________
    9
   10        If you answered YES to Question No. 3, please answer Question No. 4.
   11        If you answered NO to Question No. 3, please answer Question No. 6.
   12
   13                                  Question No.4 :
   14        Was Anthony Vargas’s negligence a substantial factor in causing his
   15 death?
   16
   17                            YES________              NO________
   18
   19        If you answered YES to Question No. 4, please answer Question No. 5.
   20        If you answered NO to Question No. 4, please answer Question No. 6.
   21
   22                                  Question No. 5 :
   23        What percentage of responsibility of harm do you assign to each of the
   24 following persons:
   25
   26           Nikolis Perez:                            %
   27           Jonathan Rojas:                           %
   28           Anthony Vargas:                           %

                                            4
                                  VERDICT FORM – PHASE II
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    1            TOTAL                                  100%
    2
    3   Please answer Question No. 6.
    4
                                          Question No. 6:
    5
              What amount of punitive damages do you award against the defendant
    6
        deputies to punish them and to deter similar acts in the future?
    7
    8
        Nikolis Perez             $ _____________________
    9
        Jonathan Rojas            $ _____________________
   10
   11
        Please sign and date the verdict form and return it to the Court.
   12
   13
   14
   15 Date: ________________                   ___________________________________
                                                       JURY FOREPERSON
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                                    VERDICT FORM – PHASE II
